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              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK
              ---------------------------------------------------x
              NINO MARTINENKO, on behalf of                              CASE NO. 22 CV 518 (LJL)
              herself and others similarly situated,

                                    Plaintiff,

                       v.

              212 STEAKHOUSE, INC., and
              NIKOLAY VOLPER,

                                     Defendants.
              ---------------------------------------------------x


                                         DECLARATION OF NINO MARTINENKO

            I, Nino Martinenko, under penalty of perjury, affirm as follows:

                 1. I am the Named Plaintiff in this action. I am familiar with the facts and circumstances set

                      forth herein.

                 2. I submit this declaration in support of Plaintiff’s opposition to Defendants motion to

                      decertify the Class and to dismiss pursuant to Rule 12(c).

                 3.   I worked at 212 Steakhouse (the “Restaurant”) as a server from 2016 through 2018, and

                      then again from early 2021 through December 2021.

                 4. During my first period of employment from 2016 to 2018, the Restaurant did not give me

                      pay stubs or other wage statements with my pay.

                 5. Because I did not receive a pay stub with my pay, I did not know the basis for my pay or

                      whether I was being paid for the correct number of hours, at the correct rates of pay, or

                      with the correct tax withholdings.

                 6. The Restaurant paid employees by handwritten checks. Sometimes I wrote out the checks.

                 7. In 2021, when I wrote the checks for payroll, I was given completed wage statements and

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                     then wrote the checks based on the net amount shown on the wage statements.

                 8. Defendants never presented me with, nor did I sign, a written wage notice.

                 9. Defendants never told me I was entitled to overtime pay. If they told me that I was entitled

                     to overtime, when I received pay stubs in 2021 that I was not receiving overtime pay, I

                     would have discussed this was Defendant Volper and requested to be paid overtime.

                 10. At Defendant Volper’s direction, Defendants granted me access to their time keeping

                     system in October 2021. He asked me to check the clock in and out times for a back of

                     house employee who he suspected was not clocking out.

                 11. I only accessed the time system twice, and both times for the purpose of checking this

                     other employee’s clock in and out time. I did not access the system to check my own clock

                     in and out time. I never accessed this system after my employment with Defendants ended.

                     I could only access the system from the office at 212 Steakhouse.



                     I declare under penalty of perjury of the law of the United States that the foregoing is true

                     and correct.


                               12/21/2023
                     Dated: _______________                                 By:_______________________
                                                                            Nino Martinenko




                                                                 2
